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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF GEORGIA
                                   ATLANTA DIVISION

In re:                                                      Case No. A19-53917-SMS
         BARBARA JENNINGS

                    Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       K. Edward Safir, chapter 13 trustee, submits the following Final Report and Account of
the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 03/11/2019.

         2) The plan was confirmed on 05/14/2019.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
11/17/2021, 11/16/2022.

     4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was converted on 12/05/2022.

         6) Number of months from filing to last payment: 45.

         7) Number of months case was pending: 45.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $4,340.00.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have not cleared the bank .




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Receipts:

         Total paid by or on behalf of the debtor                  $40,890.00
         Less amount refunded to debtor                               $441.80

NET RECEIPTS:                                                                                         $40,448.20


Expenses of Administration:

    Attorney’s Fees Paid Through the Plan                                      $4,500.00
    Court Costs                                                                    $0.00
    Trustee Expenses & Compensation                                            $2,669.57
    Other                                                                          $0.00
TOTAL EXPENSES OF ADMINISTRATION:                                                                       $7,169.57

Attorney fees paid and disclosed by debtor:                          $0.00


Scheduled Creditors:
Creditor                                            Claim         Claim            Claim        Principal       Int.
Name                                  Class       Scheduled      Asserted         Allowed         Paid         Paid
BANK OF AMERICA                   Unsecured          3,979.00       3,979.11         3,979.11           0.00        0.00
CAPITAL ONE BANK (USA) NA BY AMERICAN
                                  UnsecuredINFOSOURCE5,426.00       5,450.98         5,450.98           0.00        0.00
CAPITAL ONE BANK (USA), N.A. BY AMERICAN
                                  UnsecuredINFOSOURC 1,247.00       1,247.87         1,247.87           0.00        0.00
CHASE BANK USA, N.A.              Unsecured          5,245.00       5,300.76         5,300.76           0.00        0.00
DEPARTMENT STORES NATIONAL BANK   Unsecured             238.00        238.96           238.96           0.00        0.00
FORD MOTOR CREDIT                 Secured           26,262.00     26,285.94        26,285.94      17,525.85    3,360.14
GEORGIA DEPARTMENT OF REVENUE Unsecured                    NA         358.80           358.80           0.00        0.00
GEORGIA DEPARTMENT OF REVENUE Unsecured                    NA         358.80           358.80           0.00        0.00
GEORGIA DEPARTMENT OF REVENUE Priority                     NA       5,201.32         5,201.32           0.00        0.00
GEORGIA DEPARTMENT OF REVENUE Priority                     NA       5,201.32         5,201.32           0.00        0.00
INTERNAL REVENUE SERVICE          Priority           6,900.00       7,300.88         7,300.88           0.00        0.00
INTERNAL REVENUE SERVICE          Unsecured                NA         325.39           325.39           0.00        0.00
LVNV FUNDING, LLC                 Unsecured                NA       1,634.75         1,634.75           0.00        0.00
THD/CBNA                          Unsecured             400.00           NA               NA            0.00        0.00
N METROPOLITAN RADIOLOGY          Unsecured             620.00           NA               NA            0.00        0.00
NORTHEAST ENDOSCOPY CENTER, LLC   Unsecured             350.00           NA               NA            0.00        0.00
OPTIMUM OUTCOMES INC.             Unsecured             242.00           NA               NA            0.00        0.00
COAST PROFESSIONAL, INC.          Unsecured        128,891.39            NA               NA            0.00        0.00
GASTROENTERLOGY SPECIALISTS       Unsecured             500.00           NA               NA            0.00        0.00
GWINNETT EMERGENCY SPECIALISTSUnsecured                 850.00           NA               NA            0.00        0.00
GWINNETT MEDICAL CENTER           Unsecured          1,200.00            NA               NA            0.00        0.00
JOHN'S CREEK SPECIALISTS CENTER Unsecured               500.00           NA               NA            0.00        0.00
TD BANK USA, N.A.                 Unsecured          1,006.00       1,006.41         1,006.41           0.00        0.00
U.S. BANK NATIONAL ASSOCIATION Secured              11,475.00     11,671.59        11,671.59       5,937.60    3,326.97
U.S. BANK NATIONAL ASSOCIATION Secured               3,985.37       3,937.28         3,937.28        628.14         0.00
U.S. BANK NATIONAL ASSOCIATION Secured               1,300.00       3,234.83         3,234.83      2,499.93         0.00
U.S. DEPARTMENT OF EDUCATION      Unsecured          2,040.00       2,053.64         2,053.64           0.00        0.00
US DEPARTMENT OF EDUCATION        Unsecured                NA    107,369.19       107,369.19            0.00        0.00




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 Summary of Disbursements to Creditors:
                                                              Claim            Principal           Interest
                                                            Allowed                Paid               Paid
 Secured Payments:
       Mortgage Ongoing                                   $11,671.59         $5,937.60          $3,326.97
       Mortgage Arrearage                                  $7,172.11         $3,128.07              $0.00
       Debt Secured by Vehicle                            $26,285.94        $17,525.85          $3,360.14
       All Other Secured                                       $0.00             $0.00              $0.00
 TOTAL SECURED:                                           $45,129.64        $26,591.52          $6,687.11

 Priority Unsecured Payments:
        Domestic Support Arrearage                             $0.00                $0.00            $0.00
        Domestic Support Ongoing                               $0.00                $0.00            $0.00
        All Other Priority                                $17,703.52                $0.00            $0.00
 TOTAL PRIORITY:                                          $17,703.52                $0.00            $0.00

 GENERAL UNSECURED PAYMENTS:                            $129,324.66                 $0.00            $0.00


Disbursements:

         Expenses of Administration                             $7,169.57
         Disbursements to Creditors                            $33,278.63

TOTAL DISBURSEMENTS :                                                                       $40,448.20


       12) The trustee certifies that the foregoing summary is true and complete and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests that the trustee be discharged and granted such relief as may be just and proper.

Dated: 12/16/2022                             By: /s/ K. Edward Safir
                                                                          Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case , therefore, Paperwork Reduction Act
exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION


IN RE:                                         )      CHAPTER 13
BARBARA JENNINGS                               )
                                               )      CASE NO. A19-53917-SMS
                                               )
DEBTOR                                         )

                                CERTIFICATE OF SERVICE

This is to Certify that I have this day served the following with a copy of the foregoing Chapter
13 Trustee's Final Report and Account by depositing in the United States Mail a copy of same in
a properly addressed envelope with adequate postage thereon.

   BARBARA JENNINGS
   3720 MONTROSE POND WALK
   DULUTH, GA 30096


   HONSALEK LAW, LLC
   414 PINE GROVE AVE.
   GRAYSON, GA 30017

DATED: 12/16/2022                                                       /S/
                                                    K. Edward Safir, Chapter 13 Trustee
                                                    State Bar No. 622149
                                                    285 Peachtree Center Ave
                                                    Suite 1600
                                                    Atlanta, GA 30303-1229
                                                    (404) 525-1110
                                                    eds@atlch13tt.com




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